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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
STATE OF NEW YORK,                                                     :
                                                                       :
                                     Plaintiff,                        :         20-CV-1127 (JMF)
                                                                       :
                  -v-                                                  :
                                                                       :
CHAD F. WOLF, in his official capacity as Acting                       :
Secretary of Homeland Security, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X
                                                                       :
R. L’HEUREUX LEWIS-MCCOY et al., on behalf of                          :
themselves and all similarly situated individuals,                     :
                                                                       :         20-CV-1142 (JMF)
                                     Plaintiffs,                       :
                                                                       :
                  -v-                                                  :              ORDER
                                                                       :
CHAD WOLF, in his official capacity as Acting                          :
Secretary of Homeland Security, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       As stated on the record during the telephonic initial conference held on March 26, 2020,
any submissions by Plaintiffs in these cases shall be filed jointly unless the Court grants
permission to do otherwise upon application by letter-motion filed on ECF.

        Additionally, unless and until the Court orders otherwise, the following deadlines shall
apply to proceedings in these cases:

             x   By April 1, 2020, Plaintiffs shall file any amended complaints.

             x   By April 15, 2020, Defendants shall file any motion to dismiss and, after meeting
                 and conferring with defense counsel, the Lewis-McCoy Plaintiffs shall file any
                 motion for class certification.

             x   By April 24, 2020, Defendants shall produce the Administrative Record.
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